Case 2:06-cr-00026-JRH-JEG Document 80 Filed 11/09/06 Page 1 of 1

  Case 2 :06-cr-00026-AAA Document 80 Filed 11/ 09/2006 Page 1 of 1



                   IN THE UNITED STATES DISTRICT COURT                               :!
                  FOR THE SOUTHERN DISTRICT OF GEORGI A                         fit!
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UNITED STATES OF AMERICA

      v.                                   : CASE NO . : CR206-2 6


KYLE McCORMICK,
JAMES RAY SHEARIN
WENDELL O'NEAL
IKE GROOVER

                                      ORDER

      The Court has been advised that all motions filed by Kyle McCormick have been
resolved by the parties except McCormick' s Motion to Suppress .
      Accordingly, all such resolved motions are hereby DISMISSED as moot.
       SO ORDERED, this `~day of November, 2006 .



                                                  MES E. GRAHAM
                                                 NITED STATES MAGISTRATE JUDGE
